              IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          1:99-CV-00764

JEFFREY CLAYTON KANDIES,             )
                                     )
Petitioner,                          )
                                     )
            v.                       )
                                     )
KEITH LASSITER, Warden,              )
                                     )
Respondent.                          )
               _______________________________________

                  PETITIONER’S SUPPLEMENTAL BRIEF
                     AS TO CULLEN v. PINHOLSTER

      NOW COMES, Jeffrey Clayton Kandies, by and through his undersigned

counsel, and provides supplemental briefing as to the effect of Cullen v. Pinholster,

-- U.S. --, 131 S. Ct. 1388 (2011), on this Court’s review of the Magistrate Judge’s

Recommendation [DE 129].

                             Brief Procedural History

      Mr. Kandies is a death-sentenced North Carolina prisoner who is seeking

habeas corpus relief from his conviction and sentence. His conviction became final

when the Supreme Court of the United States denied his petition for writ of

certiorari on 7 October 1996. Kandies v. North Carolina, 519 U.S. 894 (1996).

      One of the federal constitutional claims he raised at trial and pursued on

direct appeal involved the discriminatory use of peremptory challenges by the




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prosecution in violation of Batson v. Kentucky, 476 U.S. 79 (1986). See State v.

Kandies, 467 S.E.2d 67 (N.C.), cert. denied, 519 U.S. 894 (1996). He challenged

the state court adjudication of his Batson claim in his petition for writ of habeas

corpus. [DE 8] The writ was denied. [DE 25] Although the ruling was affirmed, the

Supreme Court of the United States vacated and remanded the Batson claim for

reconsideration. Kandies v. Polk, 545 U.S. 1137(2005), vacating and remanding,

Kandies v. Polk, 385 F.3d 457 (4th Cir. 2004). The Fourth Circuit then remanded to

this Court. [DE 43]

      This Court granted Mr. Kandies’ motion for limited discovery regarding the

criminal record checks done on the jury venire and the prosecutor’s use of

peremptory challenges. [DE 63] Mr. Kandies engaged in this discovery. This Court

ordered additional discovery on these issues. [DE 79] Mr. Kandies engaged in this

discovery. Respondent moved to expand the record. [DE 83, 95] These motions

were granted. [DE 101]

      Mr. Kandies filed a brief on remand from the Supreme Court of the United

States on 8 September 2010. [DE 117] This brief included numerous affidavits and

materials containing information not available to Mr. Kandies at the time of his

trial or direct appeal, including information gathered pursuant to the Racial Justice

Act, which was not passed until 2009.




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      The magistrate judge again recommended the petition be denied. [DE 124]

Mr. Kandies filed objections. [DE 129] Respondent replied to the objections and

argued, in part, this Court could not consider any of the facts discovered and

developed after the state court proceedings in light of Cullen v. Pinholster, 131 S.

Ct. 1388 (2011). [DE 130]

      On 1 March 2013, Mr. Kandies filed a Motion to Stay and for Abeyance of

Federal Proceedings [DE 138], seeking this Court’s permission to return to state

court to file a second motion for appropriate relief in state court to allow the state

courts to consider the evidence gathered through the discovery granted by this

Court, through the investigation and litigation that has occurred under the Racial

Justice Act, and other information now available to Mr. Kandies that he could not

have obtained during the state court proceedings. This motion is pending.

                                  Legal Argument

      Mr. Kandies’ case is in a rare position, which should not go unnoticed by

this Court. In several important respects, his case reflects a procedural posture not

addressed or apparently even contemplated by Pinholster. For example, Pinholster

did not consider the availability of information obtained in federal court that a

petitioner sought in but was denied by the state courts or the emergence of new

information after a habeas petition is filed that a petitioner could not have

developed. Further, Mr. Kandies’ case is complicated. While the Batson claim was


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raised on appeal to the North Carolina Supreme Court, the evidence supporting this

claim, as Mr. Kandies acknowledges, has been developed through a variety of

discovery procedures and procedural settings. Mr. Kandies addresses each body of

evidence supporting his Batson claim in turn.

a.    Evidence Presented to State Supreme Court

      In support of his Batson claim to the state supreme court, Mr. Kandies

offered significant evidence regarding the prosecutor’s treatment of similarly-

situated prospective jurors. This body of evidence was in the record and clearly

presented to the state supreme court. Pinholster does not preclude this Court from

considering this evidence. Indeed, when evaluating the reasons given by the

prosecutor for striking a black prospective juror, the reviewing court should take

into account the disparate treatment of similarly-situated prospective jurors. Miller-

El II, 545 U.S. at 247. Nevertheless, as Mr. Kandies argued in his Objections to

Magistrate’s Recommendation [DE 129], the state supreme court rejected this

evidence concerning similarly-situated jurors and rebuffed his arguments that the

prosecutor accepted white venire members who exhibited the same characteristics

as black venire members whom the prosecutor struck. Kandies, 467 S.E.2d at 75-

76. The Recommendation categorically failed to address the state supreme court’s

wholesale dismissal of this evidence of disparate treatment of similarly-situated




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prospective jurors. [DE 117 at 4-15 (presentation of evidence regarding state’s

disparate treatment of similarly-situated prospective jurors)]

      Respondent argues in its supplemental brief 1 that the state supreme court did

address the similarly-situated evidence presented by Mr. Kandies. [DE 141 at 11-

13] But, in addressing the similarly-situated evidence, the state supreme court

stated, “Defendant’s approach involves finding a single factor among the several

articulated by the prosecutor and matching it to a passed juror who exhibited the

same factor. We have rejected this approach and do so again because it fails to

address the factors as a totality which when considered together provide an image

of a juror considered undesirable by the State.” Kandies, 467 S.E.2d at 75-76.

Respondent now argues this pronouncement was not a rejection of similarly-

situated analysis. In so doing, respondent contends while the Fourth Circuit had a

rule prior to Miller El II that “comparative juror analysis was not a critical element

of a Batson claim” [DE 141 at 11, citing United States v. Barnette, 644 F.3d 192,

205 (4th Cir. 2011)], somehow the state supreme court’s pronouncement in Kandies

was not a similar bar. Contrary to respondent’s argument, the state supreme court’s

dismissal of similarly-situated evidence was no different than that later

acknowledged by the Fourth Circuit in Barnette. Indeed, in rejecting Kandies’


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  Mr. Kandies acknowledges this Court intended the parties’ supplemental briefs to be filed
simultaneously and not as responsive pleadings. In this one regard, however, he believes it
necessary to address an argument advanced by respondent.
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Batson claim in 2004, the Fourth Circuit cited the same language from Matthews v.

Evatts, 105 F.3d 907, 918 (4th Cir. 1997) it later rebuked in Barnette. See Kandies,

385 F.3d at 495 (Traxler, J., concurring opinion).

      As to the extensive evidence of disparate treatment of similarly-situated

jurors in Mr. Kandies’ trial, all of which was exhaustively presented to the state

courts in his direct appeal, and unreasonably rejected in light of existing federal

law, Pinholster creates no bar to this Court’s review. Indeed, Miller-El II supports

the consideration of such evidence.

b.    Evidence Developed through Racial Justice Act Litigation, Evidence from
Randolph County Attorneys and Evidence of Criminal Records of Prospective
Jurors

      In support of his Batson claim, Mr. Kandies has also offered extensive (1)

evidence from the criminal records of various prospective jurors refuting the

prosecutor’s proffered race-neutral reasons, (2) evidence concerning the long-

standing history of discrimination against black venire members in jury selection in

Randolph County and (3) statistical evidence. With regard to the evidence of

prospective jurors’ criminal records, Mr. Kandies sought this information during

his trial in state court. Despite it being in the hands of the prosecutor, otherwise he

would have had no factual basis for his race-neutral reasons, the state courts

refused to give the information to Mr. Kandies. Mr. Kandies only gained this




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information after this Court ordered discovery. Pinholster did not consider this

situation.

       With regard to evidence about the prosecutor’s long-standing history of

discriminatory use of peremptory challenges, Mr. Kandies brought this notion to

the attention of the trial court, which rejected it. It was also ignored on direct

appeal. Mr. Kandies could not have added the additional information, including

the affidavits of multiple local attorneys that have been lodged with this Court, to

the record on appeal. Pinholster did not consider this situation.

       Finally, the new statistical evidence developed pursuant to the Racial Justice

Act, could not have been obtained by Mr. Kandies alone. It resulted from a

comprehensive, exhaustive multi-year study. Mr. Kandies could not have pursued

this statistical analysis on his own; no petitioner could do so. But this information

is extremely relevant to his Batson claim.              Pinholster did not consider this

situation.

       At the recent status conference, this Court mused about the impact of

Pinholster on the continuing validity of discovery in habeas corpus proceedings. 2

Pinholster did not address the issue. But it is wholly unreasonable to interpret the

bar in Pinholster to a federal court’s consideration of facts not first presented to the


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  Respondent has consistently tried to avoid this discovery. This position is hardly surprising
since the discovery and the other information now available to Mr. Kandies strongly supports his
Batson claim.
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state court as meaning relevant evidence obtained by a petitioner in habeas

discovery is of no help to him.

      As set forth fully in Mr. Kandies’ Motion to Stay and for Abeyance of

Federal Proceedings [DE 138], abeyance is proper under the particular

circumstances present in this case. See Rhines v. Weber, 544 U.S. 269, 278 (2005)

(where good cause exists for failure to exhaust state remedies of potentially

meritorious claims, federal court should stay rather than dismiss petition); see, e.g.,

Gonzalez v. Wong, 667 F.3d 965, 977-80 (2011) (remand directing district court to

stay habeas proceeding pending state court consideration of new evidence); Lovasz

v. Vaughn, 134 F.3d 146, 148 (3d Cir. 1998) (federal courts should not “discourage

petitioners from exhausting all their claims in state court”); see also Elmore v.

Ozmint, 661 F.3d 783, 845-49 (4th Cir. 2011) (circuit court grants stay and holds

proceedings in abeyance to allow petitioner to exhaust his claim under Atkins v.

Virginia, 536 U.S. 304 (2002) in state court). Mr. Kandies must be provided an

opportunity to present the evidence to the state court since where, as here, there is a

procedural mechanism to do so.        This is especially true where the evidence

gathered further supports finding that the prosecutor both (1) misrepresented the

factual basis for his purported race-neutral reason for striking otherwise eligible

African American prospective jurors and (2) actively violated the dictates of

Batson and its progeny. See Kandies v. Polk, 385 F.3d 476, 478 (4th Cir. 2004)


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(Gregory, J.) (expressing “serious doubts regarding the ‘race neutral’ reasons

proffered by the State” and that these reasons “raise[d] suspicion”).

      Mr. Kandies sought an abeyance of federal proceedings at the earliest

possible stage. When respondent first mentioned Pinholster as further grounds to

sustain the Magistrate’s recommendation denying habeas relief [DE 129], Mr.

Kandies immediately requested a status conference. [DE 132] This Court then

ordered the parties to appear at a status conference on 15 January 2013. Following

the status conference, and this Court’s order requesting supplemental briefing on

Pinholster, Mr. Kandies filed his Motion to Stay and for Abeyance of Federal

Proceedings.

      As to this second body of evidence, Mr. Kandies again requests that, as he

has done in his motion to stay and for abeyance, he be permitted to return to state

courts to present this additional compelling evidence to the state courts for review.

This Court cannot know if the state courts will deem Mr. Kandies procedurally

barred from presenting this evidence and, even if it does so, if this bar is one

regularly imposed. This speculative position advanced by respondent is not a

legitimate ground to deny the motion to stay and for abeyance and is surely no

basis to accept the pending Recommendation based on Pinholster.




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c.    Evidence Developed as Part of Federal Discovery Procedures

      The final body of evidence Mr. Kandies has offered in support of his Batson

claim was developed as a result of federal discovery allowed following remand.

Discovery was deemed warranted on remand, in part, because while denying Mr.

Kandies’ Batson claim, the Fourth Circuit expressed reservations about the matter.

See Kandies v. Polk, 385 F.3d at 478 (Gregory, J.) (expressing “serious doubts

regarding the ‘race neutral’ reasons proffered by the State” and that these reasons

“raise[d] suspicion”). On remand, former Magistrate Judge Eliason expressed his

own concerns about the state court’s handling of Mr. Kandies’ Batson claim. He

initially ordered discovery in this case, finding that “[p]art of the reason for

discovery was that, in making a Batson comparison, Petitioner’s trial attorney not

only sought comparisons between black and white jurors but, in addition,

attempted to obtain the criminal records which the State relied upon to explain its

reasons for excusing the jurors. This potentially makes this case different than

other Batson cases.” [DE 88 at 1]

      Later, in rejecting the respondent’s repeated requests to deny or halt the

previously-ordered discovery, Magistrate Judge Eliason noted “one of the

problems in this case concerns the prosecution allegedly relying on a police

officer[] to inform it whether individuals were good jurors or not. The Fourth

Circuit had noted that the police would not be likely to help determine whether an


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individual would be a good death penalty juror or not. … The trial judge in our

case did nothing to clarify the situation ….” He found “the discovery problem

seemingly remains in any event.” [DE 88 at 2-3]

      After conducting discovery on remand, both parties offered evidence for this

Court’s consideration. The depositions of three witnesses, District Attorney

Garland Yates, Assistant District Attorney Andrew Gregson and law enforcement

officer Mark McNeill, were lodged with this Court. Even the state sought to

expand the record on multiple occasions. [DE 83, 95-96]

      While respondent dismisses the unique posture of this case as being part of

“one of many” cases remanded following Miller-El II, Mr. Kandies’ case was

actually one of only four cases remanded for further proceedings. While a number

of lower court decisions have stated that, post-Pinholster, a petitioner is no longer

entitled to obtain discovery in federal habeas proceedings, Pinholster itself did not

address squarely the effect of its decision on requests for discovery in federal

habeas proceedings. Pinholster did not reference to Bracy v. Gramley, 520 U.S.

899 (1997) (allowing discovery in federal habeas where a district court finds “good

cause”) or Rule 6 of the Rules Governing Section 2254 Cases in the United States

District Courts (“A judge may, for good cause, authorize a party to conduct

discovery under the Federal Rules of Civil Procedure and may limit the extent of




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discovery.”). Thus, Pinholster’s effect on evidence developed through federal

discovery procedures is unresolved.

      Here, the discovery conducted has provided Mr. Kandies with further

substantial evidence, as the Fourth Circuit suspected might exist, that the

prosecutor’s reasons for striking a number of black prospective jurors, including

Ms. Rawlinson and Mr. McClure, had no basis in fact. [DE 129 at 12-17]

Pinholster neither resolved nor even envisioned this scenario. While the state

court’s determination of the Batson claim is entitled to some deference, and while

Pinholster precludes this Court from considering evidence developed during a

federal evidentiary hearing, this case involves a most serious issue: the

unconstitutional use of peremptory challenges by a prosecutor in a capital trial.

The issue was raised in and rejected on the merits by the state courts. The issue had

sufficient merit to warrant remand by the Supreme Court. Now compelling

information has emerged on this issue that Mr. Kandies could not have known

about or obtained in state court. Nothing in Pinholster requires this Court to ignore

this evidence, even if only by granting a stay to allow Mr. Kandies to present it to

the state courts since a procedural mechanism exists for this review. See N.C. Gen.

Stat. §15A-1419(a)-(b) (not requiring dismissal of second motion for appropriate

relief where defendant not in position to raise issue based on new evidence).




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      WHEREFORE, Jeffrey Kandies requests that this Court decline to adopt the

Memorandum and Recommendation based on Pinholster.



Respectfully submitted, this the 15th day of March, 2013.



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                         CERTIFICATE OF SERVICE

      I hereby certify that on March 15, 2013, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of
such filing to the following: Danielle Marquis Elder, Special Deputy Attorney
General, at dmarquis@ncdoj.gov, and Mary Carla Hollis, Assistant Attorney
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      Respectfully Submitted,


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